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                                                                Jenn B <jsb.bcyc@gmail.com>



Script for calling
3 messages

Doug Fuller <dougfuller@tampabay.rr.com>                          Wed, Apr 3, 2019 at 12:03 PM
To: Jenn Buckley <jsb.bcyc@gmail.com>


 Jenn,
 Lee wrote a very good script, but it was way too long. Here is what I came
 up with.
 If you have different ideas, please share them.


 We may need better directions as to how to get to the 90 page report.


 Propose Script
 I am calling on behalf of BCYC
 We have a very important vote coming up at the Friday, April19 General Meeting
 We need your attendance and vote to expel Samantha Ring.
 This person has done many harmful things and is doing serious harm to the club.
 We need to renew our lease and the City does not want to discuss renewing this
 lease until we get the members that are live-a- boards out. All the past commodores
 and all but one board member recommend this expulsion
 If you want to see all the reasons this is happening, go to the members section of
 the BCYC web site and look for the minutes of the last board meeting on April 1. At
 the end of the minutes section, you will see a 90 page document that outlines what
 she has done wrong over the past years.
 Can you come to the meeting? Are you willing to vote to expel Samantha Ring?
 Thank you
 Doug
                                                            EXHIBIT 28
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Jenn B <jsb.bcyc@gmail.com>                                                                       Wed, Apr 3, 2019 at 12:21 PM
To: Doug Fuller <dougfuller@tampabay.rr.com>

 I won’t be able to look at anything/put anything together until I get home late tonight. I’ll forward you the minutes which
 has the 90-pages in it (it’s also online).
 [Quoted text hidden]
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 Jenn Buckley
 jsb.bcyc@gmail.com
 (813) 323-5852


Doug Fuller <dougfuller@tampabay.rr.com>                                                            Thu, Apr 4, 2019 at 9:59 AM
To: Jenn B <jsb.bcyc@gmail.com>


 It looks like I may be in trouble over this. It seems that Kea ng and the “other
 side” is aware of the mee ng we are planning and are upset about it.
 I am not sure what to do about it. I called Lee, but he has not called back yet.


 Doug
 [Quoted text hidden]
